Case 2:21-cv-00562-HCN-CMR Document 94 Filed 10/29/24 PageID.997 Page 1 of 2
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                                                                        2024 OCT 29 AM 9:19
                                                                              CLERK
 S. Steven Maese                                                        U.S. DISTRICT COURT
   steven.maese@gmail.com
 3892 W Coastal Dune Dr
 South Jordan UT 84009-4715
 801-690-6960
 Plaintiff pro se

                             IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF UTAH, CENTAL DIVISION


     S. Steven Maese,                            NOTICE OF APPEARANCE
         PLAINTIFF,
                                                 Case № 2:21-cv-0562-DBB-CMR
            -v-
                                                 Judge Howard C. Nielson, Jr.
     South Jordan City, et al.,
        DEFENDANTS.                              Magistrate Cecilia M. Romero


 COMES NOW S. STEVEN MAESE and notifies the court, and the Parties, he is appearing in this

 case pro se. His prior attorney, Francis Chiaramonte, has withdrawn or will withdraw shortly.

 All correspondence for this case should be addressed to Maese as stated above.

 .

     SUBMITTED this 29th day of October 2024.
                                                      S. Steven Maese
Case 2:21-cv-00562-HCN-CMR Document 94 Filed 10/29/24 PageID.998 Page 2 of 2




                               Certificate of Service

 I certify I sent copies of the preceding document via email to:

                                R. Scott Young: rsyoung@spencerfane.com
                           Frank Chiaramonte: francis.w.chiaramonte@gmail.com


  DATED this 29th day of October 2024.
                                                       S. Steven Maese
